  1                                                              The Honorable Brian D Lynch
                                                                 Chapter 13
  2                                                              Hearing Location: telephonic
                                                                 Hearing Date: Jan. 13, 2021
  3                                                              Hearing Time: 1:30

  4

  5

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  7

  8                                  UNITED STATES BANKRUPTCY COURT

  9                   WESTERN DISTRICT OF WASHINGTON - TACOMA DIVISION

 10

 11   In Re:                                               )   Case No.: 20-42304-BDL
                                                           )
 12   Jacarae Lea Fairbanks,                               )   CHAPTER 13
                                                           )
 13                                                        )   REPLY TO DEBTOR’S RESPONSE TO
               Debtor.                                     )   MOTION FOR RETROACTIVE
                                                           )   ANNULMENT OF THE AUTOMATIC
 14                                                        )   STAY
 15

 16   I.        INTRODUCTION – SUMMARY OF ARGUMENT.
                The Debtor’s response mistakes both the facts and the law. As Debtor’s counsel
 17
      acknowledged at the last hearing, there is no legal authority or basis to void the October 2,
 18
      2020 trustee’s sale to the bona fide third party purchaser, Ladder Properties LLC and Eastside
 19
      Funding LLC for Security Purposes Only (“BFP”) for $353,100. That is why Debtor agreed
 20
      to amend her Plan to reflect the Property is no longer an asset of the estate, elected to not file a
 21
      response to the motion, and agreed to an order for entry of annulment of the stay retroactively
 22
      until the Court ordered Debtor to file a response. The argument made by Debtor in her late
 23
      response is directly contrary to Washington State law and the legislative history. RCW
 24
      61.24.050 provides:
 25
                        If the trustee accepts a bid, then the trustee’s sale is final as of the
 26
                date and time of such acceptance if the trustee’s deed is recorded within
 27             fifteen days thereafter. After a trustee’s sale, no person shall have any right,
                by statute or otherwise, to redeem the property sold at the trustee’s sale.
 28
      Reply to Debtor’s Response for Retroactive                                     Ghidotti | Berger LL
      Annulment of Stay                                                             1920 Old Tustin Ave.
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                                                                                      Tele: 949-427-2010
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  1            “The legislature added the [15-day rule] provision in 1998 to deal with the
  2   circumstance where a borrower or grantor filed a bankruptcy action between the date of the

  3   trustee’s sale and the recording of the trustee’s deed. Before this amendment, a debtor

  4   could avoid the trustee’s sale by filing a bankruptcy proceeding before the trustee’s deed was

  5   recorded. The 15–day window provides a grace period for recording the trustee’s deed,
      protecting the purchaser from any intervening claims of third parties.” Laffranci v. Lim
  6
      146 Wn.App. 376, 385-386 (2008). Hence, there was no violation of the stay.
  7
               Debtor has failed to cite a single case where a third party purchased property at a
  8
      trustee’s sale held prior to the filing of a bankruptcy was void simply by the filing of a
  9
      bankruptcy. That is because such a ruling would undermine the entire Washington Deeds of
 10
      Trust Act (“DTA”). The DTA has “three basic objectives. First, the nonjudicial foreclosure
 11
      process should remain efficient and inexpensive. Second, the process should provide an
 12
      adequate opportunity for interested parties to prevent wrongful foreclosure. Third, the process
 13
      should promote the stability of land titles.” Cox v. Helenius, 103 Wn.2d 383, 387 (1985) The
 14
      central philosophical underpinning of the DTA has always been that an efficient (i.e. speedy,
 15   inexpensive, not subject to judicial interference and delay) foreclosure process following
 16   default will benefit the residents of the State of Washington as a whole by reducing lending
 17   costs and promoting the availability of credit. Voiding a trustee’s sale because of a post-
 18   bankruptcy filing would completely disrupt the stability of land titles. Furthermore, it would
 19   create a chilling effect because who would want to purchase a property at a foreclosure sale if
 20   the sale could be voided by the debtor filling bankruptcy post-sale.

 21            The Washington Supreme Court has considered the impact of a foreclosure sale and

 22   the recording of the Deed in Udall v. T.D. Escrow Svcs., Inc., 159 Wn.2d. 903, 908 (2007).

 23   The Court held that the foreclosure trustee’s acceptance of the fall of the gavel bound the

 24   foreclosure trustee to the delivery subject only to procedural irregularities in the sale.
      Not bankruptcies filed after the trustee’s sale. Since there were no procedural irregularities
 25
      in this sale, the trustee was “bound” to deliver the trustee’s deed to BFP.
 26
               Debtor admitted there were no procedural irregularities in the sale that is why she did
 27
      not respond to the motion until the court instructed Debtor’s counsel to file a response at the
 28
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  1   hearing. Debtor still has not found any procedural irregularities in the sale. Debtor’s counsel

  2   acknowledged he filed the bankruptcy for Debtor hoping he could find some procedural

  3   irregularities but he could not. That is why Debtor sent an email to Chapter 13 Trustee and

  4   Movant’s counsel stating: “As to the plan objection, the Debtor will amend the plan to reflect

  5   that the property is no longer an asset of the estate.” (Tragarz Sup. Decl. ¶6, Exhibit “7”)
               The Lopez and Betchan cases (both decided by Judge Frederick Corbit in the E.D.
  6
      Wash.), which Debtor relies on, do not apply to this case because the creditor purchased the
  7
      property at the foreclosure sale in both cases, not a third party bona fide purchaser as in this
  8
      case. In addition, that Bankruptcy Judge apparently was not advised by the parties of the
  9
      Washington State legislative history and case law that states, “The legislature added the [15-
 10
      day rule] provision in 1998 to deal with the circumstance where a borrower or grantor filed a
 11
      bankruptcy action between the date of the trustee’s sale and the recording of the trustee’s deed.
 12
      Before this amendment, a debtor could avoid the trustee’s sale by filing a bankruptcy
 13
      proceeding before the trustee’s deed was recorded. The 15–day window provides a grace
 14
      period for recording the trustee’s deed, protecting the purchaser from any intervening claims
 15   of third parties.” Laffranci, supra at 385-386. As noted below, it is Movant’s position that
 16   there was no violation of the stay.
 17            The facts in the present case are identical to the facts in the Nelson case decided
 18   by Judge Heston in this Western District of Washington. Judge Heston held: “under
 19   Washington law, the Debtor’s and the estate’s rights in the Property following the sale,
 20   absent a challenge based on applicable procedural or other irregularities in the conduct

 21   of the sale itself, are at most in the nature of bare legal title together with a possessory

 22   interest, rather than full and unfettered ownership interests and rights in such Property.

 23   11 U.S.C. § 541(a)(1).” In re Nelson, Case #16-44597, 2017 WL 745595, *1, 3 (W.D. Wash

 24   2017) She further held that even if the delivery of the deed post-bankruptcy did violate
      the stay, it did not void the entire foreclosure sale. Id. at 4. The trustee could redo whatever
 25
      procedural steps are necessary to finalize the sale under the Washington DTA, i.e. re-execute
 26
      the Trustee’s Deed of Sale and deliver it. Note the Schwart v. U.S. (In re Schwarz) 954 F.2d
 27
      569, 574 (9th Cir. 1992) case cited by Debtor and which Judge Heston relied on regarding the
 28
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  1   automatic stay predates the 1998 amendment and was decided before the 15 day rule was

  2   enacted for this very reason to allow the execution, delivery and recording to relate back to the

  3   day of the sale if all completed within 15 days of the sale. Hence, no violation of the stay.

  4            Just as in the Nelson case, the Property here was sold to a bona fide third party

  5   purchaser that paid more than the credit bid. The BFP is incurring significant financing
      charges to a third party lender, Eastside Funding LLC that financed the purchase price.
  6
      Furthermore, the Debtor failed to take any allowed statutory action under the Washington
  7
      DTA to cure the default or to stay the foreclosure sale prior to the Trustee’s acceptance of the
  8
      BFP’s bid. Debtor has also failed to provide any evidence of procedural or other irregularities
  9
      in relation to such foreclosure or otherwise challenge the sale through the filing of any action
 10
      to void such sale. Debtor has also failed to provide evidence of any adequate protection.
 11
      Hence, Movant’s motion should be granted in its entirety as it was filed as an abundance of
 12
      caution based on Debtor’s Plan to unwind the sale and claims the Trustee “may” have violated
 13
      the stay, not movant.
 14
          II. ARGUMENT AND AUTHORITY
 15
               A. WASHINGTON STATE’S LAW PROVIDES THIRD PARTY TRUSTEE
 16               SALE PURCHASERS EXTRAORDINARY PROTECTIONS FROM POST-
                  SALE CHALLENGES.
 17
                “Property interests are created and defined by state law. Unless some federal interest
 18
      requires a different result, there is no reason why such interests should be analyzed
 19
      differently simply because an interested party is involved in a bankruptcy proceeding.”
 20
      Butner v. United States, 440 U.S. 48, 55 (1979). “Washington State….affords purchasers
 21
      broader protections than many other states by providing a conclusive presumption of
 22
      compliance in favor of bona fide purchasers in all aspects of foreclosure.” Albice v. Premier
 23
      Mortgage Servs. of Wash., Inc., 157 Wn.App.912, 925, n. 9. The sale of the Property to BFP
 24
      was unquestionably valid as a matter of state law.
 25
               B.        THE DEBTOR LACKS ABILITY TO NOW CHALLENGE THE SALE.
 26            The Washington Supreme Court enforces that “waiver of any post-sale contest occurs
 27   where a party (1) received notice of the right to enjoin the sale, (2) had actual or constructive
 28   knowledge of a defense to foreclosure prior to the sale, and (3) failed to bring an action to
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  1   obtain a court order enjoining the sale.” Plein v. Lackey, 149 Wn.2d 214, 227 (2003).

  2            Debtor was fully aware the Property was in foreclosure. She admits she received the

  3   Notice of Trustee’s Sale in May of 2020. (Fairbanks Decl. ¶8; Exhibit “C”). She signed the

  4   Certified mail green card on May 4, 2020. Debtor retained a HUD Certified Housing

  5   Counselor, who on May 18, 2020 made a formal Referral to Foreclosure Mediation and
      the Debtor was included on the emails. The Debtor also received the Notice to Borrower of
  6
      Postponement of Trustee’s Sale to October 2, 2020 and signed the green, which was mailed
  7
      to her by both regular and certified U.S. mail on August 28, 2020. (Tragarz Supp. Decl. ¶¶7-
  8
      9; Exhibits “9”-“11”)
  9
               Debtor has no defense to the sale. Debtor admits she breached the Trial Payment Plan
 10
      by failing to make the February 1, March 1, and April 1 payments. Clearly, the February 1
 11
      and March 1 missed payments were not due to COVID-19 as Debtor misleads the court.
 12
      Debtor’s claim that she was relying on “Helping Matters, USA” that her house would not be
 13
      foreclosed on is a complete misrepresentation to this Court. These alleged statements by
 14
      “Helping Matters, USA” are inadmissible hearsay. Furthermore, by at least June 22, 2020,
 15   which was over two months before she received notice of the October 2, 2020
 16   foreclosure date, Debtor knew “Helping Matters USA” was a “scam” and she should
 17   not listen to them or do what they say. On June 22, 2020, Natalie Lockhart, Debtor’s HUD
 18   Certified Housing Counselor sent an email to all parties, including Debtor after Debtor had
 19   failed to file her paperwork with the mediator that stated: “I am requesting that the mediation
 20   remain open. … Borrower was given false information from a scammer that her loan has

 21   already been restructured. … We had a very lengthy conversation about this being a

 22   scam.” (Tragarz Decl. ¶10, Exhibit “12” 6/22/20 email)

 23            In response, the Mediator gave Debtor an extension of time to July 7, 2020 to produce
      her documentation, which she failed to do by July 7, 2020 or thereafter. Since the Debtor
 24
      had failed to respond to the follow-up emails and produce the documents on July 24, 2020,
 25
      the Mediator made a finding Debtor did not participate in good faith by failing to provide
 26
      documents or participate in the mediation. The Debtor was on this email and she responded
 27
      on July 24, 2020 stating, “I’ll be listing my home for Sale.” She had two and one-half
 28
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  1   months before the foreclosure took place and she did nothing. (Tragarz Supp. Decl. ¶11,

  2   Exhibit “10” July 24, 2020 email; Tragarz Decl. ¶9, Exhibit “3” Foreclosure Mediation

  3   Report/Certification). Furthermore, there has never been any allegation that this alleged

  4   “Home Matters USA” had any connection to the Movant creditor or the BFP. Nor does

  5   Debtor testify that she made any payments to the alleged scammer.
               Lastly, Debtor failed to file a pre-foreclosure lawsuit five days before the sale to stop
  6
      the sell pursuant to the DTA. Nor has Debtor filed a post-sale lawsuit or adversary case
  7
      seeking to set aside the sale as she stated in her Plan filed on October 23, 2020.                         That is
  8
      because there was no wrongful foreclosure. This entire bankruptcy filing was nothing but a
  9
      delay tactic to stay in the house longer without paying anything.
 10
               C. UNDER THE WASHINGTON SUPREME COURT UDALL OPINION, BFP
 11               HAS TITLE TO THE PROPERTY NOW, NOT DEBTOR.
 12            Under the DTA, RCW Ch. 61.24, the Property transferred to the BFP when the
 13   Trustee declared the Property sold at the trustee’s sale. Washington State’s law holds the
 14   foreclosure trustee’s acceptance of the bid on the courthouse steps binds the foreclosure
 15   trustee to the delivery of the deed subject only to procedural irregularities in the sale or
 16   breaches of fiduciary duty by the foreclosure trustee. Udall, supra 159 Wn.2d at 890. Debtor
 17   misleads this court in her response;1 Udall rejected a lower court holding that purchaser
 18   rights in the sold property are delayed until the physical delivery of the deed. Id. The
 19   Supreme Court held: “The trustee’s delivery of the deed to the purchaser is a ministerial act,
 20   symbolizing conveyance of property rights to the purchaser. The trustee cannot withhold

 21   delivery unless the sale itself was void due to a procedural irregularity that defeated the

 22   trustee’s authority to sell the property. Examples of procedural irregularities that void a

 23   nonjudicial foreclosure sale include the borrower’s presale bankruptcy filing.” Id. at 911.

 24            The first clause of RCW 61.24.050, “[w]hen delivered to the purchaser, the

 25
      1
        Page 5 cites In re Bell, 386 B.R. 282 (W.D. Wash. 2008) and Udall for the proposition that “delivery of the
 26   trustee’s deed is necessary to convey rights in real property sold during a statutory nonjudicial foreclosures sale
      of property.” That was what the Udall appellate court found, which the Udall Supreme Court rejected and
 27   overturned the appellate court’s decision. Bell actually held that Bell no longer had an interest in the property
      when Bell filed for bankruptcy and the property did not pass to the bankruptcy estate. The court held the
 28   purchaser did not need to take advantage of any relation back rule because delivery was prior to Bell’s filing of
      bankruptcy. Hence, recognizing the relation back doctrine.
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  1            trustee’s deed shall convey,” read in conjunction with RCW 61.24.040(4) and
               (7), describes the ministerial act of delivering the trustee’s deed to the
  2            purchaser. The second sentence of RCW 61.24.050 acknowledges that the
               trustee retains the right to refuse bids until the close of the sale, but the trustee’s
  3
               power of acceptance is exercised by the auctioneer when the auctioneer
  4            announces “sold,” unless the trustee has expressly reserved otherwise. The
               plain meaning of RCW 61.24.050 thus mandates that a trustee deliver the
  5            trustee’s deed to the purchaser following a nonjudicial foreclosure sale,
               absent procedural irregularity that voids the sale. Id. at 912.
  6
               Within eleven days after the sale, the Trustee may declare that one of the three
  7
      statutorily enumerated defects took place2, and declare the sale void. Otherwise, the trustee
  8
      is bound to deliver the deed. None of the three statutory exceptions applied to the present
  9
      case so the trustee was bound to deliver the deed to the BFP.
 10
               D.        THERE WAS NO VIOLATION OF THE AUTOMATIC STAY.
 11
               “The legislature added the [15-day rule] provision in 1998 to deal with the
 12
      circumstance where a borrower or grantor filed a bankruptcy action between the date of
 13
      the trustee’s sale and the recording of the trustee’s deed. Before this amendment, a debtor
 14
      could avoid the trustee’s sale by filing a bankruptcy proceeding before the trustee’s deed was
 15
      recorded. The 15–day window provides a grace period for recording the trustee’s deed,
 16   protecting the purchaser from any intervening claims of third parties.” Laffranci,
 17   supra. 146 Wash.App. at 385-386. “This type of perfection period is common in the law. For
 18   example, section 547(e)(2) of the Bankruptcy Code contains a similar provision that allows
 19   creditors up to thirty days for perfection of certain transfers. As long as the creditor acts
 20   within the thirty-day period, the perfection step is deemed to occur on the date and time of
 21   the original transaction. See, e.g., Fidelity Financial Services, Inc. v. Fink, 522 U.S. 211

 22

 23   2
        (2)(a) Up to the eleventh day following the trustee's sale, the trustee, beneficiary, or authorized agent for the
      beneficiary may declare the trustee's sale and trustee's deed void for the following reasons:
 24   (i) The trustee, beneficiary, or authorized agent for the beneficiary assert that there was an error with the trustee
      foreclosure sale process including, but not limited to, an erroneous opening bid amount made by or on behalf of
 25   the foreclosing beneficiary at the trustee's sale;
      (ii) The borrower and beneficiary, or authorized agent for the beneficiary, had agreed prior to the trustee's sale to
 26   a loan modification agreement, forbearance plan, shared appreciation mortgage, or other loss mitigation
      agreement to postpone or discontinue the trustee's sale; or
 27   (iii) The beneficiary or authorized agent for the beneficiary had accepted funds that fully reinstated or satisfied
      the loan even if the beneficiary or authorized agent for the beneficiary had no legal duty to do so.
 28   RCW § 61.24.050.
      None of these three exceptions occurred.
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  1   (1998); Long v. Joe Romania Chevrolet, Inc. (In re Loken), 175 B.R. 56 (9th Cir. BAP (Or.)

  2   1994).     Commercial law and bankruptcy law have ordinary provisions that provide a

  3   reasonable but short period for creditors to perfect security interests and transfers of property.

  4   In re Svacina, 618 B.R. 852, 855-858 (Bankr. C.D. Cal. 2020).

  5            In In re Bebensee-Wong v. Fannie Mae (In re Bebensee-Wong), 248 B.R. 820 (9th
      Cir. BAP 2000), a creditor conducted a foreclosure sale before a debtor filed a bankruptcy
  6
      case. Twelve days later, the borrower filed a bankruptcy case and two days later, the trustee’s
  7
      deed upon sale was recorded. Therefore, the foreclosure deed was recorded post-petition but
  8
      within 15 days of the auction. The debtor argued that the creditor violated the automatic stay
  9
      by recording the foreclosure deed post-petition. The BAP noted that sections 362(b)(3) and
 10
      546(b) of the Bankruptcy Code specifically permit post-petition perfection of interests in
 11
      property when “generally applicable law . . . permits perfection to relate back and to be
 12
      effective against one who acquires rights in the property before the date of perfection.” Id. at
 13
      822 (quoting In re Stork, 212 B.R. 970, 971 (Bankr. N.D. Cal 1997)). As a result, “the
 14
      recordation of a foreclosure sale deed within fifteen days of the sale does not violate the
 15   automatic stay and is not avoidable pursuant to 11 U.S.C. §§ 544 or 549.” Id.
 16            Other cases hold likewise. In Lucore v. U.S. Bank, NA (In re Lucore), 2013 WL
 17   2367800 (9th Cir. BAP 2013), a creditor conducted a foreclosure sale and purchased the
 18   property with its credit bid. A week later, the borrowers filed a chapter 13 bankruptcy case.
 19   Post-petition, the trustee prepared and executed the Trustee’s Deed and creditor recorded
 20   the Deed but within 15 days of the auction. When the creditor sought relief from stay, the

 21   debtors opposed and protested the recording of the deed post-petition. The bankruptcy court

 22   ruled against the debtors and granted the motion for relief from stay. The BAP affirmed and

 23   stated that under § 362(b)(3), a trustee’s deed executed and recorded post-petition is still
      valid if recorded within fifteen days of the sale due to the relation-back effect.” Id. at *3 &
 24
      *4. See also Hamilton v. Hernandez (In re Hamilton), 2005 WL 6960211 (9th Cir. BAP
 25
      2005); In re Garner, 208 B.R. 698 (Bankr. N.D. Cal. 1997). In re Svacina, 618 B.R. 852,
 26
      855-858 (Bankr. C.D. Cal. 2020).
 27

 28
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  1            Based on the Laffranci, there was no violation of the stay because that is why the 15-

  2   day grace period was enacted. Debtor even acknowledges this in her response where she

  3   repeatedly states, I advised the trustee that execution, and filing of the deed “may” be a

  4   violation of the stay.

  5            E. PURSUANT TO 11 U.S.C. § 362(D)(1)                        CAUSE        EXISTS        FOR
                  ANNULMENT OF THE AUTOMATIC STAY.
  6
                It is Movant’s position there was no stay based on the Laffranchi case. However, if
  7
      the Court believes there was a stay, Movant is entitled to relief from stay “for cause”,
  8
      including a lack of adequate protection. 11 U.S.C. § 362(d)(1).
  9
                “[U]nder Washington law, the Debtor’s and the estate’s rights in the Property
 10
      following the sale, absent a challenge based on applicable procedural or other irregularities in
 11
      the conduct of the sale itself, are at most in the nature of bare legal title together with a
 12   possessory interest, rather than full and unfettered ownership interests and rights in such
 13   Property. 11 U.S.C. § 541(a)(1).” In re Nelson, supra at 4. “When a purchaser receives
 14   equitable title at a [foreclosure] sale, but legal title remains in a debtor, and the debtor
 15   thereafter files for bankruptcy, cause exists to lift the stay to allow the equitable owner to
 16   gain legal title.” In re Golden, 190 B.R. 52, 58 (Bankr. W.D. Pa. 1995); Matter of Spencer,

 17   115 B.R. 471, 485 (D. Del. 1990); In re Lally, 38 B.R. 622, 626 (Bankr. N.D. Iowa 1984); In

 18   re Shirley, 30 B.R. 195, 196 (Bankr. D. Md. 1983); Davison v. Englis Iin re Engles) 193 B.R.

 19   (Bankr. S.D. Cal 1996).

 20            Debtor had no equity in the Property at the time of filing the petition because she no
      longer held title to the Property at the time of filing of the petition due to the relation back
 21
      doctrine. BFP had purchased the Property prior to the bankruptcy filing so any alleged
 22
      equity was lost at that time. See In re Hamilton, 2005 WL 690211, 1, 4 (9th Cir. BAP 2005).
 23
      In any event, there was no equity in the Property. The BPO values the Property at $380,000,
 24
      with a quick sale price of $370,000. (Tragarz Sup. Decl. ¶13, Exhibit 13) If you subtract
 25
      10% costs of sale that brings it down to $342,000. In addition, there is outstanding taxes
 26
      owed on the Property. BFP paid $353,100 and there is over $7,000 in surplus funds from the
 27
      sale. So the Debtor is actually coming out ahead because she can walk away with over
 28
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   1   $7,000 in surplus funds that can be used to pay the only other item in the proposed plan for

   2   her vehicle that she lists is owed $7,420.

   3             In Nelson, the Court found “cause” exists to grant relief from stay based on the

   4   following facts. First, Movant is a bona fide purchaser that paid the $205,000 bid price to the

   5   foreclosure trustee and is ‘incurring significant financing charges’ to a third party lender that
       financed such purchase price….. The Debtor has not provided evidence of any adequate
   6
       protection …. Second, the Debtor not only failed to take any allowed statutory action under
   7
       the Washington DTA to cure the default or to stay the foreclosure sale prior to the Trustee’s
   8
       acceptance of Movant’s bid, but has also failed to provide any evidence of procedural or
   9
       other irregularities in relation to such foreclosure sale or otherwise challenge the sale through
  10
       the filing of any action to void such sale. Based on the Court’s determination that invalidity
  11
       of the physical delivery of the deed, if in fact done in violation of the stay, would not
  12
       void the entire foreclosure sale, it is appropriate to grant relief from stay for cause.”
  13
                Like in Nelson, this Debtor took no statutorily allowed action to cure the default or
  14
       stay the foreclosure sale prior to the acceptance of the BFP’s bid. Under Washington State’s
  15   law, the Debtor waived all avenues for questioning the validity of the sale because she did
  16   not timely move to enjoin the sale. RCW§ 61.24.1276. The Debtor cannot file a quiet title
  17   action, lis pendens, or seek any equitable relief, whatsoever. Id. Therefore, there can be no
  18   challenge to the procedures leading up to the sale that would result in overturning the sale;
  19   the delay afforded by the bankruptcy stay does nothing to unwind the sale. It only drives up
  20   BFP’s costs, as it has to pay interest on the loan each month this bankruptcy is delayed.

  21            Moreover, the Debtor seeks here a remedy that is simply not available to her under

  22   Washington State’s law overturning an unchallenged trustee’s sale as against a bona fide

  23   purchaser after the sale took place. Therefore, the Property is no part of the Debtor’s
       reorganization. This bankruptcy was just a delay that has gotten her so far an extra three
  24
       months in the house. Hence, relief should be granted and the stay should be annulled.
  25
                          F. RETROACTIVE ANNULMENT IS APPROPRIATE.
  26
                If the Court finds there was a stay, Movant requests retroactive annulment so the
  27
       Trustee does not have to re-execute, deliver and record the Trustee’s Deed. Section 362(d)
  28
       Reply to Debtor’s Response for Retroactive                                    Ghidotti | Berger LL
       Annulment of Stay                                                            1920 Old Tustin Ave.
       – Page 10                                                                    Santa Ana, CA 92705
                                                                                      Tele: 949-427-2010
Case 20-42304-BDL           Doc 32        Filed 01/11/21   Ent. 01/11/21 11:05:55    Pg. 10 of 60
   1   “gives the bankruptcy court wide latitude in crafting relief from the automatic stay, including

   2   the power to grant retroactive relief from the stay.” Schwartz v. United States (In re

   3   Schwartz) 954 F.2d 569, 572 (9th Cir. 1992). In deciding whether “cause” exists to

   4   retroactively annul the stay under § 362(d)(1), the bankruptcy court is required to examine

   5   the circumstances of the particular case. In Fjeldsted v. Lien et al. (In re Fjeldsted), 293 B.R.
       12, 24 (B.A.P. 9th Cir. 2003), the court identified twelve additional factors that can be
   6
       relevant in deciding whether retroactive annulment of the stay is justified:
   7
          1.    Number of filings. One.
   8

   9      2. Whether, in a repeat filing case, the circumstances indicate an intention to delay and
       hinder creditors. The entire purpose of the filing was to delay the eviction and allow time
  10   for the bankruptcy attorney to go on a fishing expedition for a procedural defect, which
       he admits he did not find.
  11
          3. A weighing of the extent of prejudice to creditors or third parties if the stay relief is not
  12   made retroactive, including whether harm exists to a bona fide purchaser. Extreme harm
  13   exists to bona fide purchaser as BFP is incurring approximately $5,000 in carrying costs
       on the loan each month. There is no legal authority to set the sale aside. The Property
  14   had no equity.

  15        4. The debtor’s overall good faith (totally of circumstances test). The Debtor has lied to
       the Court claiming she did not know about the October 2, 2020 foreclosure sale date and
  16
       that she was relying on Home Matters USA. She had a HUD Certified Housing Counsel
  17   tell her in June Home Matters USA was a scam and not to listen to anything they said.
       She received an email from the Mediator and the Certificate of Completing finding she
  18   participated in bad faith.

  19       5. Whether creditors knew of stay but nonetheless took action, thus compounding the
       problem. Movant did not know anything about the bankruptcy. As far as the Trustee,
  20
       the law she was aware of at the time based on WA, CA & 9th Circuit BAP is that post-
  21   foreclosure bankruptcies do not invoke the automatic stay as long as the Trustee’s Deed
       is recorded within fifteen days of the sale it relates back to the sale.
  22
          6. Whether the debtor has complied, and is otherwise complying with the Code and
  23   Rules. The debtor has not presented a viable Chapter 13 Plan, which the Chapter 13
       Trustee has objected.
  24

  25       7. The relative ease of restoring the parties to the status quo ante. The Washington
       legislature enacted the 15 day rule to confirm there was no procedural irregularities and
  26   allow the Trustee time to prepare, execute, deliver, and record the Trustee’s Deed of
       Trust so it would relate back to the day of the Trustee’s Sale. Any other result would
  27   defeat the entire purpose of the 1998 amendment.
  28
           8. The costs of annulment to debtors and creditors; There is no costs of annulment, as
       Reply to Debtor’s Response for Retroactive                                    Ghidotti | Berger LL
       Annulment of Stay                                                            1920 Old Tustin Ave.
       – Page 11                                                                    Santa Ana, CA 92705
                                                                                      Tele: 949-427-2010
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   1   it puts the parties in the position the legislature intended when in made the 1998
       amendment for the 15 day rule.
   2
           9. How quickly creditors moved for annulment, or how quickly debtors moved to set
   3
       aside the sale or volatile conduct. It has been over three months into this bankruptcy and
   4   the debtor has still not moved to set aside the sale. In fact, the Debtor has admitted on
       the record she could not find any procedural irregularities or reasons to set aside the sale
   5   that is why she did not file a response in December and advised all parties “the Debtor
       will amend the plan to reflect that the property is no longer an asset of the estate.” The
   6   Trustee promptly provided all notices and proof of mailing and posting to Debtor’s
       counsel and repeatedly asked Debtor’s attorney to respond, which he failed to do. Thus
   7
       forcing the filing of this comfort motion and objection to the plan.
   8
           10. Whether, after learning of the bankruptcy, creditors proceeded to take steps in
   9   continued violation of the stay, or whether they moved expeditiously to gain relief. The
       Debtor never informed Movant of the bankruptcy. The Ghidotti Berger firm did not
  10   issue the Trustee’s Deed. Based on Washington, California and Ninth Circuit law it was
  11   not a violation of the stay.

  12       11. Whether annulment of the stay will cause irreparable injury to the debtor. Annulment
       of the stay will not cause any injury to the debtor. There is no equity in the house. There
  13   is over $7,000 in surplus funds that could be used to pay other creditors. Furthermore,
       Debtor has admitted there is no legal basis to set aside the sale.
  14

  15       12. Whether stay relief will promote judicial economy or other efficiencies. Annulment
       of the stay will promote judicial economy, otherwise the Trustee will have to execute a
  16   new Trustee’s Deed, which will have to be delivered and incur additional recording fees.

  17   III.      CONCLUSION.
  18          For the foregoing reasons, Movant respectfully requests the Court follow Washington
  19   State Law and recognize the recording of the Trustee’s Deed within 15 days of the foreclosure
  20   sale relates back to the day of sale; that the Property is not property of the estate as of the date
  21   of filing of the petition; and that there was no violation of the automatic stay.                In the
  22   alternative, Movant requests retroactive annulment of the automatic stay to the date of the
  23   filing of the petition. In the alternative, Movant requests relief from stay to allow the re-
  24   execution, delivery and recording of the Trustee’s Deed.
  25   Dated: January 11, 2021                      Respectfully Submitted,
  26                                                GHIDOTTI | BERGER LLP
                                                    /s/ Nancy R. Tragarz
  27                                                Nancy R. Tragarz, Esq. WSBA #56153
  28
       Reply to Debtor’s Response for Retroactive                                     Ghidotti | Berger LL
       Annulment of Stay                                                             1920 Old Tustin Ave.
       – Page 12                                                                     Santa Ana, CA 92705
                                                                                       Tele: 949-427-2010
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   1                                                                    The Honorable Brian D Lynch
                                                                        Chapter 13
   2                                                                    Hearing Location: telephonic
                                                                        Hearing Date: Jan. 13, 2021
   3                                                                    Hearing Time: 1:30

   4

   5

   6                                  UNITED STATES BANKRUPTCY COURT
   7                   WESTERN DISTRICT OF WASHINGTON - TACOMA DIVISION
   8

   9   In Re:                                                     )   Case No.: 20-42304-BDL
                                                                  )
  10   Jacarae Lea Fairbanks,                                     )   CHAPTER 13
                                                                  )
  11                                                              )
                Debtor.                                           )   SUPPLEMENTAL DECLARATION OF
  12                                                              )   NANCY R. TRAGARZ IN SUPPORT OF
                                                                  )   MOTION FOR RETROACTIVE
  13                                                              )   ANNULMENT OF THE AUTOMATIC
                                                                  )   STAY AND VALIDATION OF
  14                                                              )   EXECUTION, DELIVERY AND
                                                                      RECORDING OF TRUSTEE’S DEED
  15

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       Supplemental Declaration of Nancy R. Tragarz in Reply to                            Ghidotti | Berger LLP
       Response to Motion for Retroactive Annulment of the Stay                            1920 Old Tustin Ave.
       - Page 1                                                                            Santa Ana, CA 92705
                                                                                             Tele: 949-427-2010
Case 20-42304-BDL           Doc 32        Filed 01/11/21          Ent. 01/11/21 11:05:55    Pg. 13 of 60
   1            I, Nancy R. Tragarz, declare as follows:

   2            1.       I have personal knowledge of the facts set forth herein, except as to those stated

   3   on information and belief and, as to those, I am informed and believe them to be true. If called

   4   as a witness, I could and would competently testify to the matters stated herein.

   5            2.       I am employed as an attorney for the law firm of Ghidotti | Berger who represents

   6   Wilmington Savings Fund Society, FSB, As Owner Trustee of the Residential Credit

   7   Opportunities Trust V-C, which was the last beneficiary of the Deed of Trust that was secured

   8   by the Property that is the subject of this motion and the attorney for the foreclosing trustee
       Michelle Ghidotti.
   9
                3.       I am one of the custodians of the Ghidotti |Berger’s books, records, and writings
  10
       (“Records”) as they pertain to this case. I have personally worked with, and on, Defendants’
  11
       legal file in this matter and have personal knowledge that the Records were, and are, kept in the
  12
       usual and ordinary course of business. I have gathered the records and exhibits noted below
  13
       from my computer, Ghidotti | Berger’s files, and public documents. Based on the foregoing
  14
       facts, my personal knowledge, and my review of the Documents, I know that those documents
  15
       are true and correct copies of the court records.
  16
                4.       A foreclosure sale was conducted on October 2, 2020 and the Property was sold
  17
       to a bona fide third party purchaser, Ladder Properties LLC and Eastside Funding LLC for
  18   Security Purposes Only (“BFP”) for $353,100.00. There are surplus funds from the sale in
  19   excess of $7,000, which the Debtor has failed to list on her schedules.
  20            5.       I have been advised by the Managing Member of Ladder Properties, Ahmad
  21   Rabi, that he is paying approximately $5,000 a month on interest on the loan obtained to
  22   purchase the Property at the foreclosure sale.
  23            6.       On December 15, 2020, after Debtor’s counsel, David Smith had conducted his

  24   investigation to see if he could find any irregularities in the foreclosure sale, sent an email to

  25   Jordan at the Chapter 13 Trustee’s office, and myself stating, “As to the plan objection, the

  26   Debtor will amend the plan to reflect that the property is no longer an asset of the estate.” He

  27   also noted he had not responded to the Motion for Relief and would review a proposed order. A

  28
       Supplemental Declaration of Nancy R. Tragarz in Reply to                            Ghidotti | Berger LLP
       Response to Motion for Retroactive Annulment of the Stay                            1920 Old Tustin Ave.
       - Page 2                                                                            Santa Ana, CA 92705
                                                                                             Tele: 949-427-2010
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   1   true and correct copy of the email is attached hereto, marked as Exhibit “7” and incorporated

   2   herein by reference.

   3            7.        The Notice of Trustee’s Sale was recorded on April 30, 2020 and Debtor signed

   4   the Certified Mail delivery card (green card) on May 4, 2020. A true and correct copy of the

   5   signed green card is attached hereto, marked as Exhibit “8” and incorporated herein by
       reference.
   6
                8.        Debtor retained a HUD Certified Housing Counselor, who on May 18, 2020
   7
       made a formal Referral to Foreclosure Mediation and the Debtor was included on the emails.
   8
       True and correct copies of the Referral to Mediation form and the email chain are attached
   9
       hereto, marked as Exhibits “9” and “10” respectfully and incorporated herein by reference.
  10
                9.         The Debtor also received the Notice to Borrower of Postponement of Trustee’s
  11
       Sale to October 2, 2020 and signed the green card, which was mailed to her by both regular and
  12
       certified U.S. mail on August 28, 2020. A true and correct copy of the Declaration of Mailing
  13
       Notice of Postponement, with the Notice and signed green card is attached hereto, marked as
  14
       Exhibit “11” and incorporated herein by reference.
  15            10.      On June 22, 2020, Natalie Lockhart, Debtor’s HUD Certified Housing Counselor
  16   sent an email to all parties, including Debtor after Debtor had failed to file her paperwork with
  17   the mediator that stated, “I am requesting that the mediation remain open. … Borrower was
  18   given false information from a scammer that her loan has already been restructured. … We had
  19   a very lengthy conversation about this being a scam.” A true and correct copy of the June 22,
  20   2020 email is attached hereto, marked as Exhibit “12” and incorporated herein by reference.

  21            11.      In response, the Mediator gave Debtor an extension of time to July 7, 2020 to

  22   produce her documentation, which she failed to do by July 7, 2020 or thereafter. Since the

  23   Debtor had failed to respond to the follow-up emails and produce the documents on July 24,
       2020, the Mediator made a finding Debtor did not participate in good faith by failing to provide
  24
       documents or participate in the mediation. The Debtor was on this email and she responded on
  25
       July 24, 2020 stating, “I’ll be listing my home for Sale.” She had two and one-half months
  26
       before the foreclosure took place and she did nothing. A true and correct copy of the July 22,
  27

  28
       Supplemental Declaration of Nancy R. Tragarz in Reply to                            Ghidotti | Berger LLP
       Response to Motion for Retroactive Annulment of the Stay                            1920 Old Tustin Ave.
       - Page 3                                                                            Santa Ana, CA 92705
                                                                                             Tele: 949-427-2010
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   1   2020 email is part of the email chain attached hereto, marked as Exhibit “10” and incorporated

   2   herein by reference.

   3            12.      Debtor failed to file a pre-foreclosure lawsuit five days before the sale to stop the

   4   sell pursuant to the DTA. Nor has Debtor filed a post-sale lawsuit or adversary case seeking to

   5   set aside the sale as she stated in her Plan filed on October 23, 2020.
                13.      The Broker’s Price Opinion (“BPO”) values the Property at $380,000, with a
   6
       quick sale price of $370,000. A true and correct copy of the BPO is attached hereto, marked as
   7
       Exhibit “13” and incorporated herein by reference.
   8
                Executed on January 11, 2020, at Santa Ana, California.
   9

  10
                                                                  ___________________________________
  11
                                                                  Nancy R. Tragarz
  12

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       Supplemental Declaration of Nancy R. Tragarz in Reply to                             Ghidotti | Berger LLP
       Response to Motion for Retroactive Annulment of the Stay                             1920 Old Tustin Ave.
       - Page 4                                                                             Santa Ana, CA 92705
                                                                                              Tele: 949-427-2010
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                             Exhibit 7



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Nancy Tragarz

From:                              Nancy Tragarz
Sent:                              Friday, January 8, 2021 3:12 PM
To:                                Nancy Tragarz
Subject:                           FW: Fairbanks 20-42304




From: David <David@davidsmithlaw.com>
Sent: Tuesday, December 15, 2020 4:00 PM
To: jessica@davidsmithlaw.com; Erica Loftis <eloftis@ghidottiberger.com>; 'Jordan' <Jordan@chapter13tacoma.org>
Cc: Nancy Tragarz <ntragarz@ghidottiberger.com>
Subject: RE: Fairbanks 20-42304

All,

So, my client did not respond to the motion for the Trustee’s relief from stay.

Since we did not oppose, an order an be uploaded so that we do not need to attend the hearing on this matter.

If you have a proposed order to review, I will be happy to look at it.

As to the plan objection, the Debtor will amend the plan to reflect that the property is no longer an asset of the estate,
as indicated below.

We request that the Bank withdraw the objection because the resolution by relief from stay renders the objection moot.

Thanks,

David




                                                              1


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                             Exhibit 8



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20-42304-BDL   Doc 32   Filed 01/11/21   Ent. 01/11/21 11:05:55   Pg. 21
                             Exhibit 9



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                             Form last revised 01/06/2016
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                                                                                                       Check if Trustee Sale is
REFERRAL TO FORECLOSURE MEDIATION                                                                      within the next 10 days
Law Firm or Counseling Agency:
Attorney or Counselor Name:           Linda Taylor
Organization Name:                    Urban League of Metropolitan Seattle
Address:                              105 14th Ave Suite 200                               County: King
City:                                 Seattle                                              Zip:    98122
State:                                Washington                                           Phone: 206 461 3792
Email: (Dept. of Commerce will send correspondence and notices to this email) LTaylor@urbanleague.org



Borrower(s) Contact Information:                                      Property Secured by Deed of Trust:
If more than two borrowers, use the Additional Information box.
                       Jacare L Fairbanks a single
Name:                                                                 Property Address:              18610 85th Ave East
                       woman
Mailing Address:       18610 85th Ave East                             City:                      Puyallup
City, Zip:             Puyallup 98375                                  County:                    Pierce
County:                Pierce                                          State, Zip:                Washington 98375
Email:                 iamjacare@yahoo.com                             Parcel No. (optional):     6024040310
Phone:                 2062517643                                      Lot No. (optional):
Name:                                                                 Is this Deed of Trust recorded against owner-occupied
Mailing Address:                                                      residential real property? The property must have been
City, Zip                      ,                                      owner-occupied as of the date of the initial contact
County:                                                               under RCW 61.24.031 was made (RCW 61.24.165).
Email:                                                                See definitions in RCW 61.24.005.
Phone:                                                                   Yes                 No
Borrower Information:                                                 Voluntary Mediation (as of 6/12/2014):
Is(are) the person(s) listed above the borrower(s)                    Is this a “Voluntary Mediation Referral,” meaning the
identified on the note/Deed of Trust?                                 borrower has failed to elect to mediate within the
    Yes                  No                                           applicable time frame described in RCW 61.24.163(1)?
                                                                          Yes                No
If No, is(are) the person(s) eligible under (see Instructions):
    RCW 61.24.165(5) or           RCW 61.24.165(6)                    If Yes, attach a voluntary mediation agreement signed
                                                                      by both parties to this referral form (see Instructions).
Is(are) the borrower(s) in bankruptcy (see Instructions)?
                                                                      Notice of Pre-Foreclosure Options Letter:
    Yes                No
Beneficiary (Holder of Note) Contact Information:                     Date:
See definitions in RCW 61.24.005.                                     Notice of Default (required):
Name of Beneficiary:         Wilmington Savings Fund                  Borrowers with NODs prior to 7/22/2011 may be referred to
                                                                      mediation up to one day prior to the date of the Trustee Sale.
Mailing Address:             3020 Old Ranch Parkway                   Borrowers with NODs after 7/22/2011 may be referred until 20
City:                        Seal Beach                               days after the date a Notice of Trustee Sale has been RECORDED.
State, Zip:                  Ca 90740                                 Date:           2/1/2020
Email:                                                                Recording of Notice of Trustee Sale:
Phone:                                                                Date:           4/30/2020

Loan No. (if known):                                                  Date of Trustee Sale:
Client ID (optional):                                                 Date:           8/28/2020




                                                      Form last revised 1/03/2016
       Case 20-42304-BDL                Doc 32        Filed 01/11/21      Ent. 01/11/21 11:05:55              Pg. 24 of 60
 Trustee Contact Information:                                Servicer Contact Information (optional):
 Organization:      Michelle R Ghiodotti                     Organization:
 Contact Person:                                             Contact Person:
                           rd
 Mailing Address:   9725 3 Ave NE Suite 600                  Mailing Address:
 City:              Seattle                                  City:
 State, Zip:        Washington 98115                         State, Zip:
 Email:                                                      Email:
 Phone:             206 331 3280                             Phone:
 Trustee Ref. No:

  Additional information which may be helpful to the foreclosure mediation:



  This referral is being made in my capacity as a:
    Housing Counselor                                             Attorney
  Name of HUD- or HFC-Approved Housing Agency:                  WSBA #:
  Urban League of Metropolitan Seattle
     I will         I will not be representing the borrower(s) during the foreclosure mediation.

I certify that I have reviewed the individual circumstance(s) of the borrower(s) and find that foreclosure
mediation is appropriate. By signing below, I accept responsibility for the accuracy of this referral.


___Linda Taylor_______________________________
Signature of referring attorney/housing counselor

___Linda Taylor______________________________
Print name of referring attorney/housing counselor

______5/18/2020___________________________
Date




                                            Form last revised 1/03/2016
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                             Form last revised 1/03/2016
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                         Exhibit 10



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Nancy Tragarz

From:                           Nancy Tragarz
Sent:                           Friday, January 8, 2021 3:30 PM
To:                             Nancy Tragarz
Subject:                        FW: MEDIATION CANCELLED: FAIRBANKS - Referral for Foreclosure Mediation Notice,
                                per RCW 61.24.163(3) PCCDR:0993804




From: Jacarae Fairbanks-Faison <iamjacarae@yahoo.com>
Sent: Friday, July 24, 2020 9:09 PM
To: Nancy Tragarz <ntragarz@ghidottiberger.com>; Jennifer Unger <jenu@centerforresolution.org>; Heather Smith
<hsmith@ghidottiberger.com>; Natalie Lockhart <nlockhart@urbanleague.org>; Linda Taylor
<ltaylor@urbanleague.org>
Subject: Re: MEDIATION CANCELLED: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804

Thank you for all your help. I’ll be listing my home for
Sale.

Thanks again for your efforts, but at this point, I have children at home for which I have to provide for. I didn’t
ask to be in this situation and its far beyond my control. Our country is in a Pandemic, I’ve been laid off and my
children have been home since March. No school or child care. Shame on any lender or bank putting families
out on the street. I’ve worked hard over the years to keep my home and I have plenty of equity. I’ll be dammed
if I sit back and let FCI take all me and my children have. I’m a single mother just trying to do my best.

Count your blessings, I’d hate for any one to ever have to experience what I’m going thru. Unless your rich, we
are all just a paycheck away from being homeless. Having said that I hope this message reaches you all in good
health, good fortune and may God have mercy on us all during these trying times.

Sincerely,

J. Fairbanks



Sent from Yahoo Mail for iPhone

On Friday, July 24, 2020, 6:51 PM, Nancy Tragarz <ntragarz@ghidottiberger.com> wrote:

       Thank you.



       Have a nice weekend.




                                                           1


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Best regards,




This e-mail and any files transmitted with it are confidential and intended solely for the use of the individual or entity to
whom they are addressed. If you have received this e-mail in error or are not the named addressee you should not
disseminate, distribute or copy this e-mail. Please notify the sender immediately via e-mail if you have received this
e-mail by mistake and delete this e-mail from your system. If you are not the intended recipient you are notified that
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actions taken on the basis of the information provided. WARNING: Although Ghidotti Berger has taken reasonable
precautions to ensure no viruses are present, computer viruses can be transmitted via e-mail. The company cannot
accept responsibility for any loss or damage arising from the use of this e-mail or attachments. The recipient should
check this e-mail and any attachments for the presence of viruses. E-mail transmission cannot be guaranteed to be
secure or error-free as information could be intercepted, corrupted, lost, destroyed, arrive late or incomplete, or
contain viruses. THIS LAW FIRM MAY BE DEEMED A “DEBT COLLECTOR” UNDER THE FAIR DEBT
COLLECTION PRACTICES ACT. ANY AND ALL INFORMATION OBTAINED MAY BE USED FOR THE PURPOSE
OF COLLECTING A DEBT. If you are currently pursuing loss mitigation with the creditor or a debtor in bankruptcy or
have been discharged in bankruptcy, or are otherwise protected by a bankruptcy stay, this is NOT an attempt to
collect a debt and is for informational purposes only. You should consult legal counsel regarding your obligations, if
any, to pay the mortgage loan




From: Jennifer Unger <jenu@centerforresolution.org>
Sent: Friday, July 24, 2020 6:13 PM
To: Nancy Tragarz <ntragarz@ghidottiberger.com>; Heather Smith
<hsmith@ghidottiberger.com>; Natalie Lockhart <nlockhart@urbanleague.org>; Linda Taylor
<ltaylor@urbanleague.org>
Cc: CDR Mediation Services <Mediations@centerforresolution.org>; iamjacarae@yahoo.com;
Ron McMahan <rmcmahan@americanmortgageip.com>
Subject: MEDIATION CANCELLED: FAIRBANKS - Referral for Foreclosure Mediation Notice,
per RCW 61.24.163(3) PCCDR:0993804
Importance: High



Good Afternoon, Everyone



The mediation scheduled for Tues, Aug. 4th has been cancelled by the mediator as the
extended borrower deadlines were not met and the documents or a response have yet to be
received.



Next steps:

The certificate will be issued to close this process upon my return on Tues, Aug. 4th

                                                             2


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The borrower’s uniform borrower assistance form /application has yet to be received.



Beneficiary: please re-work your NPV inputs into a more printable format to be attached to the
mediation certificate. Example of the NPV inputs can be found on the FDIC worksheet. The
worksheet itself can also be used with the test results for faster completion of the NPV
requirement.

https://www.fdic.gov/consumers/assistance/protection/mortgages/fc-
prevention/npvcalculator.html



Thanks,



Jen




Jennifer Unger | Associate Director | she/her

CENTER FOR DIALOG & RESOLUTION | P: 253.572.3657 | E: jenu@centerforresolution.org

717 Tacoma Ave South, Tacoma WA 98402 | www.CenterForResolution.org

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any. Thank you.




From: Nancy Tragarz [mailto:ntragarz@ghidottiberger.com]
Sent: Friday, July 24, 2020 8:38 AM
To: Jennifer Unger <jenu@centerforresolution.org>; Heather Smith
<hsmith@ghidottiberger.com>; Natalie Lockhart <nlockhart@urbanleague.org>; Linda Taylor
<ltaylor@urbanleague.org>
Cc: CDR Mediation Services <Mediations@centerforresolution.org>; iamjacarae@yahoo.com;
Ron McMahan <rmcmahan@americanmortgageip.com>

                                                                  3


Case 20-42304-BDL                   Doc 32        Filed 01/11/21            Ent. 01/11/21 11:05:55                 Pg. 30 of 60
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804



Good morning,



Attached is a new current BPO with an As-is Sale Price of $380,000 and a Quick Sale Price of
$370,000. I believe we have supplied everything the beneficiary\servicer is required. Please let
us know if you need anything else.

We are looking forward to the August 4, 2020 mediation. Was that at 10:00 am?




Best regards,




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have been discharged in bankruptcy, or are otherwise protected by a bankruptcy stay, this is NOT an attempt to
collect a debt and is for informational purposes only. You should consult legal counsel regarding your obligations, if
any, to pay the mortgage loan




From: Nancy Tragarz
Sent: Tuesday, July 21, 2020 4:06 PM
To: Jennifer Unger <jenu@centerforresolution.org>; Heather Smith
<hsmith@ghidottiberger.com>; Natalie Lockhart <nlockhart@urbanleague.org>; Linda Taylor
<ltaylor@urbanleague.org>
Cc: CDR Mediation Services <Mediations@centerforresolution.org>; iamjacarae@yahoo.com;
Ron McMahan <rmcmahan@americanmortgageip.com>

                                                             4


Case 20-42304-BDL                Doc 32        Filed 01/11/21          Ent. 01/11/21 11:05:55              Pg. 31 of 60
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804



Thank you Jennifer,



My client has ordered a new BPO and we should have it shortly.



On 9/26/19, the borrower executed a loan modification agreement with trial payment plan,
which included 12 trial plan payments. Pursuant to paragraph 1 the borrower agreed: “During
this Trial Payment Plan the Consumer understands that the loan will remain in foreclosure. If
Consumer fails to make a monthly payment or exceeds a delinquency of Thirty (30) days or
more, Consumer agrees to stipulate to Foreclosure.” Borrower failed to make the 2/1/20, 3/1/20
and 4/1/20 trial plan payments.

A new NOTS was recorded on 4/30/20 with a sale date of 8/28/20. My client continued to
attempt to work directly with Ms. Fairbanks and even made her another loan modification offer,
which she failed to respond to.



My client does not do NPV calculations. The only guideline they use are based on the borrowers
submitted documents, the borrower must have lower than a 50% DTI based on PITI and
provided income documents. Ms. Fairbanks does not meet those guidelines. She has an
excessive debt to income ratio of greater than 100% (proposed modified PITI monthly payment
of $2,204 / monthly income of $2,000 as per provided tax returns).




Formula for NPV

NPV = (Cash flows)/( 1+r)i

i- Initial Investment – estimated payoff is $335,000 + $2,772 in missed escrow payment,
mod. Balance of $337,772

r = Discount rate – interest rate 5.5%

i = time period   - 480 months

PI: $1,742.13

Escrow: $462.00

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Total: $2,204.13



Is this sufficient or do you need anything more?

If so, what NPV inputs are you specifically looking for?

We want to get you whatever information you require.




Best regards,




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have been discharged in bankruptcy, or are otherwise protected by a bankruptcy stay, this is NOT an attempt to
collect a debt and is for informational purposes only. You should consult legal counsel regarding your obligations, if
any, to pay the mortgage loan




From: Jennifer Unger <jenu@centerforresolution.org>
Sent: Thursday, July 16, 2020 11:12 PM
To: Nancy Tragarz <ntragarz@ghidottiberger.com>; Heather Smith
<hsmith@ghidottiberger.com>; Natalie Lockhart <nlockhart@urbanleague.org>; Linda Taylor
<ltaylor@urbanleague.org>
Cc: CDR Mediation Services <Mediations@centerforresolution.org>; iamjacarae@yahoo.com
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804


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Good Evening, Everyone



Thank you all for your updates and documents.



Outstanding Docs:

Borrower: Uniform Borrower Assistance Form (“UBAF”)

Beneficiary: NPV inputs and/or test results; current BPO



Borrower’s initial documents were received on 7/10. The extended deadline for documents was
7/7.



I will follow up with parties regarding next steps upon my return later next week.



Thanks,



Jen




REGISTER NOW: Basic Mediation Training (BMT) July 8 - 10, 15, and 16th



Jennifer Unger | Associate Director

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From: Nancy Tragarz [mailto:ntragarz@ghidottiberger.com]
Sent: Thursday, July 16, 2020 9:04 PM
To: Heather Smith <hsmith@ghidottiberger.com>; Natalie Lockhart
<nlockhart@urbanleague.org>; Linda Taylor <ltaylor@urbanleague.org>; Jennifer Unger
<jenu@centerforresolution.org>
Cc: CDR Mediation Services <Mediations@centerforresolution.org>;
mhawkeye65@yahoo.com; iamjacarae@yahoo.com
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804




Hello,



Attached is the BPO.




Best regards,




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have been discharged in bankruptcy, or are otherwise protected by a bankruptcy stay, this is NOT an attempt to
collect a debt and is for informational purposes only. You should consult legal counsel regarding your obligations, if
any, to pay the mortgage loan




                                                             8


Case 20-42304-BDL                Doc 32        Filed 01/11/21          Ent. 01/11/21 11:05:55              Pg. 35 of 60
From: Heather Smith <hsmith@ghidottiberger.com>
Sent: Thursday, July 16, 2020 10:05 AM
To: Natalie Lockhart <nlockhart@urbanleague.org>; Linda Taylor <ltaylor@urbanleague.org>;
Jennifer Unger <jenu@centerforresolution.org>
Cc: CDR Mediation Services <Mediations@centerforresolution.org>;
mhawkeye65@yahoo.com; iamjacarae@yahoo.com; Nancy Tragarz
<ntragarz@ghidottiberger.com>; Heather Smith <hsmith@ghidottiberger.com>
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804



Hello,



Please find attached the following beneficiary documents for your review/reference.



-   Note

-   DOT

-   Beneficiary Declaration

-   Payoff

-   Reinstatement

-   Payment history (PH1, PH2, PH3)

-   Workout denial letter



Thank you,




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you are currently pursuing loss mitigation with the creditor or a debtor in bankruptcy or have been discharged in
bankruptcy, or are otherwise protected by a bankruptcy stay, this is NOT an attempt to collect a debt and is for
informational purposes only. You should consult legal counsel regarding your obligations, if any, to pay the mortgage
loan.




From: Nancy Tragarz <ntragarz@ghidottiberger.com>
Sent: Friday, July 10, 2020 3:37 PM
To: Natalie Lockhart <nlockhart@urbanleague.org>
Cc: Linda Taylor <ltaylor@urbanleague.org>; Jennifer Unger <jenu@centerforresolution.org>;
Ron McMahan <rmcmahan@americanmortgageip.com>; CDR Mediation Services
<Mediations@centerforresolution.org>; mhawkeye65@yahoo.com; iamjacarae@yahoo.com;
Heather Smith <hsmith@ghidottiberger.com>
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804



Good afternoon,



The extended deadline was July 7.




Best regards,




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have been discharged in bankruptcy, or are otherwise protected by a bankruptcy stay, this is NOT an attempt to
collect a debt and is for informational purposes only. You should consult legal counsel regarding your obligations, if
any, to pay the mortgage loan




From: Natalie Lockhart <nlockhart@urbanleague.org>
Sent: Friday, July 10, 2020 3:01 PM
To: Nancy Tragarz <ntragarz@ghidottiberger.com>
Cc: Linda Taylor <ltaylor@urbanleague.org>; Jennifer Unger <jenu@centerforresolution.org>;
Ron McMahan <rmcmahan@americanmortgageip.com>; CDR Mediation Services
<Mediations@centerforresolution.org>; mhawkeye65@yahoo.com; iamjacarae@yahoo.com;
Heather Smith <hsmith@ghidottiberger.com>
Subject: Re: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
PCCDR:0993804



All, borrower has provided the attached documents. I have requested that she send the following
missing documents as soon as possible:



1) copy of unemployment award letter

2) copy of the lease/rental agreement and proof that payments are made

3) 60 days most current, consecutive bank statements, all pages, all accounts

4) UBAF



Once documents are received, will forward for continued review. Thank you!




On Wed, Jul 1, 2020 at 5:42 PM Nancy Tragarz <ntragarz@ghidottiberger.com> wrote:

 Good afternoon,




                                                          11


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As stated in my prior email, Mediation was requested on 5/18/20. The referral letter was sent
out and received on 5/21/20. Hence, per statute the mediation is to be completed by
7/30/20. We request a mediation date prior to 7/31/20. I am available any date or time on July
27-30. But if the mediator cannot fit us in before then, we will agree to August 4th am or pm but
no date beyond that.



As you are aware, on 9/26/19, the borrower executed a loan modification agreement with trial
payment plan, which included 12 trial plan payments. Pursuant to paragraph 1 the borrower
agreed: ”During this Trial Payment Plan the Consumer understands that the loan will remain in
foreclosure. If Consumer fails to make a monthly payment or exceeds a delinquency of Thirty
(30) days or more, Consumer agrees to stipulate to Foreclosure.” Borrower failed to make the
2/1/20, 3/1/20 and 4/1/20 trial plan payments. My client tried to work with her after
her2/1/20 default, but she has failed to respond to anyone.




Best regards,




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been discharged in bankruptcy, or are otherwise protected by a bankruptcy stay, this is NOT an attempt to collect a debt and is
for informational purposes only. You should consult legal counsel regarding your obligations, if any, to pay the mortgage loan




From: Linda Taylor <ltaylor@urbanleague.org>
Sent: Wednesday, July 1, 2020 4:46 PM
To: 'Jennifer Unger' <jenu@centerforresolution.org>; 'Ron McMahan'
<rmcmahan@americanmortgageip.com>; 'Natalie Lockhart' <nlockhart@urbanleague.org>;
Nancy Tragarz <ntragarz@ghidottiberger.com>
Cc: AWilliams@urbanleague.org; 'CDR Mediation Services'
                                                               12


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<Mediations@centerforresolution.org>; mhawkeye65@yahoo.com; iamjacarae@yahoo.com;
Heather Smith <hsmith@ghidottiberger.com>
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW
61.24.163(3) PCCDR:0993804




August 4th works well for AM or PM



Linda Taylor

From: Jennifer Unger <jenu@centerforresolution.org>
Sent: Wednesday, July 1, 2020 4:33 PM
To: Ron McMahan <rmcmahan@americanmortgageip.com>; Natalie Lockhart
<nlockhart@urbanleague.org>; Nancy Tragarz ntragarz@ghidottiberger.comAugust th
Cc: ltaylor@urbanleague.org; AWilliams@urbanleague.org; CDR Mediation Services
<Mediations@centerforresolution.org>; mhawkeye65@yahoo.com; iamjacarae@yahoo.com;
Heather Smith <hsmith@ghidottiberger.com>
Subject: RE: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW
61.24.163(3) PCCDR:0993804



Good Afternoon, Everyone



I asked 2 concrete questions on 6/25/20:

1. Borrower –given the borrower submitted documents to apparent scam agency outside of
this process, What is the proposed timeline for a new packet of documents to be circulated
through this mediation?

2.   Dates for Mediation:

                  Tues, Aug. 4th AM/PM

                  Wed, Aug. 5th- PM

                  Thurs, Aug. 6th – AM/PM

                  Tues, Aug. 11th – AM/PM

                  Thurs, Aug. 13th – AM/PM


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        I am proposing that a mediation date be set regardless of the document review at the
        moment. If the statutorily required minimum of borrower’s documents are not received by
        Tuesday, July 7th, the mediation process will not continue and the mediation will be closed.



        If the documents are received by the deadline, parties will be expected to prepare for mediation
        on the mutually agreed date. If a date is not agreed to, the mediator will set a mediation date to
        occur on or before Thurs, Aug. 13th. This will allow the time necessary for parties to either
        reach agreements and create next steps or the trustee will proceed with the presently scheduled
        sale date.



        Please let me know if you have any questions. I can be available by phone or email between
        10am – 4pm.



        Thanks,



        Jen




        REGISTER NOW: Basic Mediation Training (BMT) July 8 - 10, 15, and 16th



        Jennifer Unger | Associate Director

        CENTER FOR DIALOG & RESOLUTION | P: 253.572.3657 | E: jenu@centerforresolution.org

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                         Exhibit 11



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                                    DECLARATION OF MAILING
                                                iMailTracking, LLC
                                          9620 Ridgehaven Court, Suite A
                                              San Diego, CA 92123


Reference No:                  18-1135
Mailing Number:                0014557-01
Type Of Mailing:               WAPPNTC




I,                    Jacob Smith                      , declare as follows:

I am now, and at all times mentioned herein, a citizen of the United States, over the age of eighteen
years, and a resident of San Diego County, California.

At the request of Michelle Ghidotti, Esq on 8/28/2020, I deposited in the United States mail a copy of the
attached document, in separate sealed envelopes, in accordance with the checked mailing classes listed
below, postage prepaid, to the address list in Exhibit A which is attached hereto and made a part hereof.

                          First Class
                          Certified
                          Certified with Return Receipt
                          Certified with Return Receipt and Restricted Delivery
                          Certified with Electronic Return Receipt
                          Registered
                          Registered International

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and
correct.


Date and Location: 8/28/2020 San Diego, California




Jacob Smith, Mail Production Specialist, iMailTracking, LLC




Digital Declaration.doc                                                                          Rev 7/12/2018



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                                      Michelle Ghidotti, Esq.
                                     9725 3rd Ave NE Ste 600
                                     Seattle, WA 98115-2061
                                          (206) 331-3280


        NOTICE TO BORROWER OF POSTPONEMENT OF TRUSTEE’S SALE


August 28, 2020

 Re:     T.S. Number:         18-1135

         Property Address:    18610 85TH AVENUE EAST
                              PUYALLUP, WA 98375

         Sale Location:       THE 2ND FLOOR ENTRY PLAZA OUTSIDE
                              THE COUNTY COURTHOUSE, 930 TACOMA
                              AVENUE SOUTH, TACOMA, WA 98402

You are hereby notified that the above-referenced Trustee’s Sale previously scheduled for
8/28/2020 at 10:00 AM has been postponed to 10/02/2020 at 10:00 AM.

YOU MAY NOT RECEIVE WRITTEN NOTICE OF POSTPONEMENT EACH TIME
THE TRUSTEE’S SALE IS POSTPONED. TO PROTECT YOUR INTEREST IN THE
PROPERTY, IT IS IMPORTANT THAT YOU MONITOR ALL POSTPONEMENTS OF
THE TRUSTEE’S SALE. You may monitor trustee’s sale postponements by attending the
scheduled trustee’s sale at the place in the notice of trustee’s sale and at the date and time in the
most recent public declaration of postponement. While a public declaration at the time set for
trustee’s sale is the official method for postponing a trustee’s sale, you can also obtain information
about further trustee’s sale postponements by calling (714) 730-2727 or through the following
website: https://www.servicelinkasap.com/default.aspx, using the file number assigned to this case
18-1135 and by accepting the terms and conditions for that resource. UNLESS YOU TAKE
ACTION TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE
WITHOUT FURTHER NOTICE.

MICHELLE R. GHIDOTTI, ESQ., as authorized agent of the beneficiary


Briana Young, Trustee Sale Officer




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                     Exhibit A to Declaration of Mailing



Postal Class:        First Class                                            Sender: Michelle Ghidotti, Esq
Type of Mailing:     WAPPNTC                                                1920 Old Tustin Ave.
Attachment:          0014557-01 000 20200828 Prestige000402                 Santa Ana CA 92705

          2          (11)9690024802950472
                     Resident of the Property Subject to Foreclosure Sale
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          4          (11)9690024802950502
                     Occupants
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          6          (11)9690024802950533
                     Unknown Spouse and/or Domestic Partner of JACARAE L. FAIRBANKS
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          8          (11)9690024802950564
                     JACARAE L. FAIRBANKS
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          10         (11)9690024802950595
                     PIERCE COUNTY SEWER
                     PIERCE COUNTY PLANNING & PUBLIC WORKS
                     9850 64TH ST W
                     UNIVERSITY PLACE, WA 98467-1078

          12         (11)9690024802950618
                     Aleksandr Kanonik
                     1911 SW Campus Dr., #624
                     Federal Way, WA 98023

          14         (11)9690024802950632
                     Eugene Bien
                     3927 Lake Washington Blvd. NE
                     Kirkland, WA 98037

          16         (11)9690024802950656
                     Michael Monson
                     9912 Chapman Dr. NW
                     Gig Harbor, WA 98332

          18         (11)9690024802950670
                     PIERCE COUNTY SEWER
                     PIERCE COUNTY PLANNING & PUBLIC WORKS
                     9850 64TH ST W
                     UNIVERSITY PLACE, WA 98467-1078

          20         (11)9690024802950700
                     PIERCE COUNTY SEWER
                     PIERCE COUNTY PLANNING & PUBLIC WORKS
                     9850 64TH ST W
                     UNIVERSITY PLACE, WA 98467-1078




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                     Exhibit A to Declaration of Mailing



Postal Class:        Certified - Ret                                        Sender: Michelle Ghidotti, Esq
Type of Mailing:     WAPPNTC                                                1920 Old Tustin Ave.
Attachment:          0014557-01 000 20200828 Prestige000402                 Santa Ana CA 92705

          1          71969002484063045233
                     Resident of the Property Subject to Foreclosure Sale
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          3          71969002484063045264
                     Occupants
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          5          71969002484063045288
                     Unknown Spouse and/or Domestic Partner of JACARAE L. FAIRBANKS
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          7          71969002484063045301
                     JACARAE L. FAIRBANKS
                     18610 85TH AVENUE EAST
                     PUYALLUP, WA 98375

          9          71969002484063045325
                     PIERCE COUNTY SEWER
                     PIERCE COUNTY PLANNING & PUBLIC WORKS
                     9850 64TH ST W
                     UNIVERSITY PLACE, WA 98467-1078

          11         71969002484063045349
                     Aleksandr Kanonik
                     1911 SW Campus Dr., #624
                     Federal Way, WA 98023

          13         71969002484063045363
                     Eugene Bien
                     3927 Lake Washington Blvd. NE
                     Kirkland, WA 98037

          15         71969002484063045387
                     Michael Monson
                     9912 Chapman Dr. NW
                     Gig Harbor, WA 98332

          17         71969002484063045394
                     PIERCE COUNTY SEWER
                     PIERCE COUNTY PLANNING & PUBLIC WORKS
                     9850 64TH ST W
                     UNIVERSITY PLACE, WA 98467-1078

          19         71969002484063045417
                     PIERCE COUNTY SEWER
                     PIERCE COUNTY PLANNING & PUBLIC WORKS
                     9850 64TH ST W
                     UNIVERSITY PLACE, WA 98467-1078




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20-42304-BDL   Doc 32   Filed 01/11/21   Ent. 01/11/21 11:05:55   Pg. 48
20-42304-BDL   Doc 32   Filed 01/11/21   Ent. 01/11/21 11:05:55   Pg. 49
                         Exhibit 12

Case 20-42304-BDL   Doc 32   Filed 01/11/21   Ent. 01/11/21 11:05:55   Pg. 50 of 60
Nancy Tragarz

From:                           Nancy Tragarz
Sent:                           Friday, January 8, 2021 2:29 PM
To:                             Nancy Tragarz
Subject:                        FW: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)
Attachments:                    JACARAE FAIRBANKS RESTRUCTURE          PROPOSAL 8 (1).pdf




From: Natalie Lockhart <nlockhart@urbanleague.org>
Sent: Monday, June 22, 2020 2:43 PM
To: Nancy Tragarz <ntragarz@ghidottiberger.com>
Cc: ltaylor@urbanleague.org; AWilliams@urbanleague.org; jennifern@pccdr.org; jenu@centerforresolution.org;
Mediations@CenterForResolution.org; mhawkeye65@yahoo.com; iamjacarae@yahoo.com; Heather Smith
<hsmith@ghidottiberger.com>
Subject: Re: FAIRBANKS - Referral for Foreclosure Mediation Notice, per RCW 61.24.163(3)

All, I am requesting that the mediation remain open. Please see attached. Borrower is working on her
package for the Urban League and mediation. Borrower was given false information from a scammer that her
loan has already been restructured, with instructions to forward the first 3 payments directly to them (not the
lender), then on the 4th payment start paying the lendr. She was under the impression that this company was
instrumental in getting her mediation and the reason her sale was stopped. We had a very lengthy conversation
about this being a scam, that under no circumstances was she to ever make payments to anyone other than her
lender, and that her mediation was active due to referral by the Urban League.

Since she had forwarded all documents to this lender, she is rebuilding her case. Please give additional time for
this to be provided. Your cooperation is greatly appreciated.


email: nlockhart@urbanleague.org




                                                         1


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                         Exhibit 13

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                                             ORDER DATE      07/17/2020
                                        INSPECTION DATE      07/17/2020                                                        BROKER PRICE OPINION - EXTERIOR
                                         COMPLETE DATE       07/18/2020



                                                       ADDRESS: 18610 85TH AVE E, PUYALLUP, WA 98375
                                                       PROPERTY TYPE       PROPERTY STYLE UNIT(S) CONDITION YEAR BUILT              LOT SIZE (ACRES)      SQ. FT ROOMS BED BATH                ASSESSOR PARCEL NO.
                                                           SFD                Traditional   1        C3        2003                       0.130            2369    9    4   3.0                    602404-031-0


                                                        ORDER INFORMATION
                                                      ORDER NO.                  4863561                  INFO SOURCE                Tax data                     BROKER NAME                Brandon R Heilbrun
                                                      CUSTOMER                   American Mortgage IP     CUSTOMER ID                9160041074                   POOL NAME                  PRP 2018_1024
                                                      CUSTOMER CONTACT           Tauane Horton            BORROWER                                                COMPANY



   PRICE OPINION
 AS-IS SALE PRICE                                      AS IS LIST PRICE                   $390,000.00     REPAIRED SALE PRICE                                     REPAIRED LIST PRICE                    $390,000.00
                                                       QUICK SALE PRICE                   $370,000.00                                                             REP. QUICK SALE PRICE                  $370,000.00
  $380,000.00                                          TYPICAL MARKET TIME                1-60             $380,000.00                                            REPAIR ESTIMATE                        $0.00


PRICING COMMENTS
PRICING STRATEGY
Pricing suggestion came about from analyzing the most current comps which are located as close to subject as possible and are as close as feasible in ...Full Statement on Last Page

QC REVIEW
A series of BPO reports from 2017-2019 price the home between $290k and $330k, which is a swing of 13%, but is also a generally increasing pattern. ...Full Statement on Last Page



  REPAIR DETAILS
      REPAIRS RECOMMENDED No                        RESALE PROBLEM No                         REPAIRS ESTIMATE $0.00                   DAYS TO COMPLETE 0                                         TO 0

EXTERIOR REPAIR TYPE                             REPAIR COMMENTS                              AMOUNT      EXTERIOR REPAIR TYPE                               REPAIR COMMENTS                                  AMOUNT
PAINTING                                                                                        $0.00     OTHER                                                                                                 $0.00
FOUNDATION                                                                                      $0.00     POOL                                                                                                  $0.00
LANDSCAPING                                                                                     $0.00     REPAIR BID                                                                                            $0.00
ROOF                                                                                            $0.00
WINDOWS                                                                                         $0.00


CONDITION/REPAIR COMMENTS
Subject is on a quiet residential block. No immediate repair or modernization required.


  PROPERTY INFORMATION
PROPERTY VACANT            No                         LAND VALUE                 $83,400.00              MARKET RENT (MNTH)         1400.00                      GUEST HOUSE SF                    0
SECURED                    Yes                        VIEW                       Neighborhood            HOA FEES                   0.00                         GUEST HOUSE BSMT SF               0

CURRENTLY LISTED           No                        LISTING BROKER                                                    LIST IN LAST 12 MO.     No                DOM                     0
DOM                        0                         COMPANY                                                           SOLD IN LAST 12 MO.     No                SALE DATE
ORIGINAL LIST PRICE        $0.00                     PHONE                                                             ORIGINAL LIST PRICE     $0.00             LISTING BROKER
CURRENT LIST PRICE         $0.00                                                                                       FINAL LIST PRICE        $0.00             COMPANY
                                                                            .                                          SALE PRICE              $0.00             PHONE


SUBJECT COMMENTS
The subject appears to be in average condition and conforms to the neighborhood


  NEIGHBORHOOD INFORMATION
POPULATION DENSITY           Urban                     HOME VALUES ARE             Stable                 SUPPLY                     Stable                       APPROX # OF COMPS FOR
CRIME/VANDAL RISK            Low                       AT A RATE OF                0.000                  DEMAND                     Stable                       SALE IN NEIGHBORHOOD                   10
NEIGHBORHOOD TREND           Stable                    OWNER OCCUPIED %            80.000                 COMPETING LISTINGS         12
ENVIRONMENTAL ISSUES         No                        PRIDE OF OWNERSHIP          Average                VALUE RANGE                $379,950.00                  # BOARDED/BLOCKED
                                                       PREDOMINANT BUYER           Owner Occupied         TO                         $435,000.00                  UP IN NEIGHBORHOOD                     0


NEIGHBORHOOD COMMENTS
The subject is located in a urban neighborhood with stable property values and a balanced supply Vs demand of homes. The economy is stable, ...Full Statement on Last Page




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                                        ORDER DATE    07/17/2020
                                    INSPECTION DATE   07/17/2020                                                       BROKER PRICE OPINION - EXTERIOR
                                    COMPLETE DATE     07/18/2020



ADDRESS: 18610 85TH AVE E, PUYALLUP, WA 98375
    PROPERTY TYPE        PROPERTY STYLE            UNIT(S)      CONDITION       YEAR BUILT           LOT SIZE (ACRES)          SQ. FT      ROOMS         BED     BATH             ASSESSOR PARCEL NO.
        SFD                 Traditional              1             C3              2003                    0.130                2369         9            4       3.0                 602404-031-0


    SOLD COMPARABLES
                                                                            YEAR    LOT      SQ.                                         LIST         LIST       ACT       TOT     SP S/ SQ.      COE       SOLD
#   STREET ADDRESS        CITY              ZIP       UNIT(S)   CONDITION                        ROOMS BED BATH GARAGE DIST.
                                                                            BUILT   SIZE     FT.                                         DATE        PRICE       DOM       DOM        FT          DATE      PRICE
                                                                                                                       Garage - 2
1   9318 186th St Ct E   Puyallup          98375         1         C3        2004   0.110    2295     7     3    2.5              0.41 06/18/20 $385,000.00        28       28       $174.95     07/16/20 $401,500.00
                                                                                                                          Car
                                                                                                                       Garage - 2
2    18904 88th Ave E    Puyallup          98375         1         C3        2001   0.130    2208     8     4    2.5              0.24 02/13/20 $379,950.00        65       65       $183.42     04/18/20 $405,000.00
                                                                                                                          Car
                                                                                                                       Garage - 2
3   8713 188th St Ct E   Puyallup          98375         1         C3        2007   0.130    2150     7     3    3.0              0.20 02/26/20 $375,000.00        37       37       $186.05     04/03/20 $400,000.00
                                                                                                                          Car


                                                                                                    SOLD #1 (0.41 miles) 9318 186th St Ct E
                                                                                                    SUBDIVISION: PUYALLUP

                                                                                                    COMMENTS: Welcome to this turn key 3 bed, 2.5 bath home. Beautiful new laminate flrs lead into a lg
                                                                                                    flowing living area. Open space kitchen w/lg island, new apps & huge walk in pantry. Upstairs has 3
                                                                                                    bedrooms plus lg bonus area. Master suite w/walk-in closet & 5 pc ensuite ba. Most rooms have new
                                                                                                    paint, new carpet & linoleum in bathrooms. Entertain w/summer BBQ's in the fully fenced backyard that
                                                                                                    backs to open space. Easy commute to JBLM, restaurants, shops & great schools. This one checks all
                                                                                                    the boxes!




                                                                                                    SOLD #2 (0.24 miles) 18904 88th Ave E
                                                                                                    SUBDIVISION: PUYALLUP

                                                                                                    COMMENTS: Welcome home to Hillsboro in Silver Creek!This gorgeous home with the master on
                                                                                                    main offers a spacious bedrooms.A cozy living room with a gas fireplace .Open Kitchen with Island.
                                                                                                    Vauletd entry with arched entrances to the living and dining rooms. Enjoy your private backyard on the
                                                                                                    greenbelt for entertaining guest. This gated community also offers a clubhouse tennis and basketball
                                                                                                    court and play areas in walking distance.Restaurants and shopping nearby.Puyallup Schools.




                                                                                                    SOLD #3 (0.20 miles) 8713 188th St Ct E
                                                                                                    SUBDIVISION: PUYALLUP

                                                                                                    COMMENTS: Welcome Home! This fantastic 2-Story in Silver Creek features an open & spacious floor
                                                                                                    plan w/designer colors, rounded archways & upgrades throughout. Nice living space w/gas fireplace,
                                                                                                    gourmet kitchen w/eating area & dining rm, 3 bdrms + a fabulous bonus rm up, 2.5 baths & 2,150 sq ft.
                                                                                                    You'll love the master suite w/5 piece bath, soaking tub, double sinks, separate shower & walk-in
                                                                                                    closet. Fully fenced yard w/patio backs to a wonderful greenbelt, 2 car attached garage, and new AC!




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                                        ORDER DATE   07/17/2020
                                INSPECTION DATE      07/17/2020                                                     BROKER PRICE OPINION - EXTERIOR
                                  COMPLETE DATE      07/18/2020



ADDRESS: 18610 85TH AVE E, PUYALLUP, WA 98375
    PROPERTY TYPE         PROPERTY STYLE         UNIT(S)     CONDITION       YEAR BUILT           LOT SIZE (ACRES)          SQ. FT      ROOMS         BED     BATH             ASSESSOR PARCEL NO.
        SFD                  Traditional           1            C3              2003                    0.130                2369         9            4       3.0                 602404-031-0




    LISTED COMPARABLES
                                                                                 YEAR    LOT    SQ.                             LIST CURRENT LIST ORIGINAL LIST ACT                                TOT   SP S/
#   STREET ADDRESS            CITY               ZIP       UNIT(S)   CONDITION                      ROOMS BED BATH GARAGE DIST.
                                                                                 BUILT   SIZE   FT.                             DATE    PRICE        PRICE      DOM                                DOM   SQ. FT
                                                                                                                       Garage - 2
1    8603 188th St Ct E      Puyallup           98375        1          C3       2007    0.140 2017     7     3    2.5            0.15 06/19/20     $399,950.00        $399,950.00        29       29    $198.29
                                                                                                                          Car
                                                                                                                       Garage - 2
2    18609 87th Av Ct E      Puyallup           98375        1          C3       2007    0.120 2190     8     4    2.5            0.18 06/17/20     $415,000.00        $415,000.00        31       31    $189.50
                                                                                                                          Car
                                                                                                                       Garage - 2
3    19513 91st Ave E        Graham             98338        1          C3       2010    0.100 2159     8     4    2.5            0.68 07/07/20     $399,950.00        $399,950.00            11   11    $185.25
                                                                                                                          Car


                                                                                                 LISTED #1 (0.15miles) 8603 188th St Ct E
                                                                                                 SUBDIVISION: PUYALLUP

                                                                                                 COMMENTS: This Silver Creek home offers 3 Bedrooms, 2.5 Baths, lovely kitchen with island,
                                                                                                 abundant cabinetry and a great room with a cozy gas fire place. Spacious upstairs master suite with 5
                                                                                                 piece master bath, soaking tub, separate shower, dual vanity & walk in closet! Enjoy your fully fenced
                                                                                                 flat backyard & piece of mind that this home comes with a 1 year "shield essential" home warranty thru
                                                                                                 American Home Shield. Enjoy the 360 virtual tour.




                                                                                                 LISTED #2 (0.18miles) 18609 87th Av Ct E
                                                                                                 SUBDIVISION: Puyallup

                                                                                                 COMMENTS: This fantastic 2-story home in Silver Creek is just what U need to kick off ur summer!
                                                                                                 Featuring a spacious backyard which faces a greenbelt & peek-a-boo views of Mt. Rainier. The patio
                                                                                                 space & privacy is perfect to host ur gatherings. Step inside & admire the huge living room & kitchen b4
                                                                                                 you walk out to the formal dining & living room. Make your way upstairs to find 3 bedrooms & a bath,
                                                                                                 plus a masterbed w/ vaulted ceilings. Puyallup School District & close to shopping/dining. Welcome
                                                                                                 Home!




                                                                                                 LISTED #3 (0.68miles) 19513 91st Ave E
                                                                                                 SUBDIVISION: Graham

                                                                                                 COMMENTS: Beautiful 2159 SF home in the desirable Winterwood community! Close to shopping,
                                                                                                 dining and JBLM! 4 spacious bedrooms or optional Bonus room/5th Bedroom!! Open Family Room
                                                                                                 and Kitchen with breakfast nook plus Formal Dining. Slider access to fenced back yard. Kitchen
                                                                                                 features gas range, granite slab counters and WI pantry. Master Suite boasts private bath, recessed
                                                                                                 ceiling, french doors & walk-in closet. Upper floor utility room. White trim package, laminate hardwood
                                                                                                 on main plus 2 car garage




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                           ORDER DATE    07/17/2020
                       INSPECTION DATE   07/17/2020                                         BROKER PRICE OPINION - EXTERIOR
                       COMPLETE DATE     07/18/2020



ADDRESS: 18610 85TH AVE E, PUYALLUP, WA 98375
 PROPERTY TYPE   PROPERTY STYLE      UNIT(S)     CONDITION      YEAR BUILT   LOT SIZE (ACRES)   SQ. FT      ROOMS         BED     BATH             ASSESSOR PARCEL NO.
     SFD            Traditional        1            C3             2003            0.130         2369         9            4       3.0                 602404-031-0




SUBJECT PROPERTY PHOTOS




                          Subject Front                                                                    Subject Front Side 1




                      Subject Front Side 2                                                               Subject Street Scene 1




                     Subject Street Scene 2                                                          Subject Address verification




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                                               ORDER DATE     07/17/2020
                                         INSPECTION DATE      07/17/2020                                                             BROKER PRICE OPINION - EXTERIOR
                                          COMPLETE DATE       07/18/2020



 ADDRESS: 18610 85TH AVE E, PUYALLUP, WA 98375
     PROPERTY TYPE               PROPERTY STYLE             UNIT(S)      CONDITION          YEAR BUILT            LOT SIZE (ACRES)          SQ. FT       ROOMS         BED     BATH             ASSESSOR PARCEL NO.
         SFD                        Traditional               1             C3                 2003                     0.130                2369          9            4       3.0                 602404-031-0




  MAP OF SUBJECT AND COMPARABLES




  BROKER'S SIGNATURE
 By completing this report, the Broker certifies that they have completed a site inspection of the subject property and that subject photos were taken at the time of inspection.




SIGNATURE
                                                                                                                   DATE        07/18/2020        LICENCE NUMBER 27913                  EXPIRATION DATE 01/08/2022



BROKER NAME            Brandon R Heilbrun                                     YEARS OF EXPERIENCE 9             COMPANY           John L Scott                                                          PHONE   3608933380
EMAIL                  brandon@76af.com                                                                         ADDRESS           PO Box 1864                                                           FAX     3608935590
PHONE                  3608933380                                                                               CITY, ST ZIP      Orting, WA 98360

This is a comparative market analysis, not a appraisal, and should not be used for lending purposes. Therefore, it is not intended to be an appraisal for the market value of the property and such does not comply
with USPAP standards. If an appraisal is desired, the services of a licensed or certified appraiser should be obtained. This opinion is not an appraisal of the market value of the property, and may not be used in lieu
of an appraisal. If an appraisal is desired, the services of a licensed or certified appraiser shall be obtained. This opinion may not be used by any party as the primary basis to determine the value of a parcel of or
interest in real property for a mortgage loan origination, including the first and second mortgages, refinances, or equity lines of credit.This analysis has not been prepared in accordance with the Uniform Standards
of Professional Appraisal Practice which require valuers to act as unbiased, disinterested third parties with impartiality, objectivity and independence and without accommodation of personal interest. It is not to be
construed as an appraisal and may not be used as such for any purpose.

This brokers price opinion is not an appraisal as defined in chapter 18.140 RCW and has been prepared by a real estate licensee, licensed under chapter 18.85 RCW,
who is not also state-certified or state-licensed as a real estate appraiser under chapter 18.140 RCW.




                                                                                                                                              Copyright Red Bell Real Estate, LLC 2019. All rights reserved.




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  Pricing Strategy Full
Pricing suggestion came about from analyzing the most current comps which are located as close to subject as possible and are as close as feasible in square footage, location,
condition, style and acreage with subject property. I have searched a distance up to 0.5 mile, GLA +/- 20% sq ft, lot size 30% +/- sq ft, age 20% +/- yrs and up to 3 months in time. This
was expanded to up to 12 months in time , proximity up to 9.5 miles due to lack of similar homes.To obtain values in similar location of the subject it was necessary to use dissimilar
bed/bath count,gla,age ,style,condition of the comps for that variances necessary adjustments are given in the report. Subject is located near freeway,golf course,electric pole,railway
line,park,commercial buildings,school however these factors does not have any impact on value.prior comp details:9318 186th St Ct E,18904 88th Ave E and 8713 188th St Ct E used
in this report.


  QC Review Full
A series of BPO reports from 2017-2019 price the home between $290k and $330k, which is a swing of 13%, but is also a generally increasing pattern. The current data and photos in
this report match those of a April 2019 BPO which priced the home at $330k. The last time the home sold was in $2003 for $202k, there are no interior MLS photos available. The
current as is price has been set at $380k, this is a 15.2% variance from the most recent prior price. A secondary search of the area was restricted to 1 mile around the home an
supports the current as is price, with home prices ranging from $370k-$475k.


  Neighborhood Comments Full
The subject is located in a urban neighborhood with stable property values and a balanced supply Vs demand of homes. The economy is stable, employment conditions are stable and
the schools in the area are good for the state prevalence of REO properties and seller concessions is also stable. There were no functional or economic obsolescence observed.




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1                                                                         The Honorable Brian D. Lynch
                                                                          Chapter 13
2                                                                         Hearing Location: Telephonic
                                                                          Hearing Date: Jan. 13, 2021
3                                                                         Hearing Time: 01:30 P.M.

4

5

6                                UNITED STATES BANKRUPTCY COURT
7                  WESTERN DISTRICT OF WASHINGTON, TACOMA DIVISION
8

9      In re:                                              )    Case No.: 20-42304-BDL
                                                           )
10     Jacarae Lea Fairbanks,                              )    CHAPTER 13
                                                           )
11                                                         )    CERTIFICATE OF SERVICE
12                                                         )
                                                           )
13                              Debtor.                    )
                                                           )
14                                                         )
                                                           )
15
                                                           )
16
       I, Brandy Carroll, declare as follows:
17
                  I am employed in the County of Orange, State of California. I am over the age of eighteen
18
       (18) and not a party to the within action. My business is 1920 Old Tustin Ave, Santa Ana, CA
19
       92705.
20
                  On January 11, 2021, I served the foregoing document(s) described as;
21
                        AMENDED NOTICE OF HEARING ON MOTION FOR RETROACTIVE
22
                         ANNULMENT OF THE AUTOMATIC STAY AND VALIDATION OF
23
                         EXECUTION AND RECORDING OF TRUSTEE’S DEED;
24
       The above listed document(s) were served on the interested parties in this action as follows:
25
       via US Mail:
26

27     Debtor:                                                 Chapter 13 Trustee:
       Jacarae Lea Fairbanks                                   Michael G. Malaier
28     18610 85th Ave E                                        2122 Commerce Street
       Puyallup, WA 98375                                      Tacoma, WA 98402
                                                                                         Ghidotti Berger, LLP
       Certificate of Service
                                                                                        1920 Old Tustin Avenue
       Page 1                                                                              Santa Ana, CA 92705
     Case 20-42304-BDL          Doc 32    Filed 01/11/21       Ent. 01/11/21 11:05:55    Pg.  59 of 60
                                                                                              Tele: 949-427-2010
1
       Debtors Counsel:                                   US Trustee:
2      David Smith                                        United States Trustee
       Attorney at Law                                    700 Steward St Ste 5103
3
       201 St Helens Ave                                  Seattle, WA 98101
4      Tacoma, WA 98402

5      Judge’s Copy:                                      Eastside Funding, LLC
       Hon. Judge Brian D Lynch                           Attn: Chris Nelson
6      1717 Pacific Avenue, Suite 2100                    3927 Lake Washington Blvd NE
       Tacoma, WA 98402-3233                              Kirkland, WA 98033
7

8                                                         Ladder Properties, LLC
                                                          Attn: Ahmad Rabi
9                                                         22525 141st Ave SE
                                                          Kent, WA 98042
10

11

12     Dated: January 11, 2021

13
       /s/Brandy Carroll
14     Brandy Carroll
15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                                                     Ghidotti Berger, LLP
       Certificate of Service
                                                                                    1920 Old Tustin Avenue
       Page 2                                                                          Santa Ana, CA 92705
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                                                                                          Tele: 949-427-2010
